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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                       )
                                             )         Case No. 17-19898 TBM
WILD CALLING PET FOODS, LLC,                 )         Chapter 7
                                             )
                      Debtor.                )
                                             )
                                             )
JEFFREY L. HILL, Chapter 7 Trustee,          )         Adversary Proceeding No.
                                             )
                      Plaintiff,             )
v.                                           )
                                             )
AMERICAN NUTRITION, INC.,                    )
                                             )
                      Defendant.             )


                                         COMPLAINT


      Plaintiff Jeffrey L. Hill, chapter 7 trustee, by and through his undersigned counsel, for his
Complaint, states and alleges as follows:

                                   JURISDICTION AND VENUE

       1.      The Court has subject matter jurisdiction over this adversary proceeding pursuant
to 28 U.S.C. § 1334(b) and (e).

         2.    This proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (F).

         3.    Venue in this district is proper under 28 U.S.C. § 1409(a).

       4.     This adversary proceeding is commenced pursuant to Rule 7001(1) of the Federal
Rules of Bankruptcy Procedure.




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                             GENERAL ALLEGATIONS

        5.     Wild Calling Pet Foods, LLC (“Debtor”) filed for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) on October 25, 2017 (the “Petition Date”).

      6.      The Debtor’s case was converted to a case under chapter 7 of the Bankruptcy Code
on March 29, 2018 (Docket No. 133).

      7.      Jeffrey L. Hill (“Trustee”) is the duly appointed chapter 7 trustee of the Debtor’s
bankruptcy estate (the “Estate”).

       8.        Defendant American Nutrition, Inc. (“Defendant”) is a Utah corporation with its
principal place of business at 2813 Wall Ave., Ogden, UT 84401.

       9.      According to Debtor’s financial records, Debtor made payments to Defendant in
the 90-days prior to the Petition Date as follows:

               a. $30,000.00 on July 27, 2017; and
               b. $30,000.00 on August 11, 2017.

Such payments total $60,000.00 and are collectively referred to herein as the “Pre-Petition
Payments.”

        10.     Upon information and belief, Debtor’s debt to Defendant was unsecured as a result
of senior liens against all of Debtor’s assets.

      11.     The Debtor’s bankruptcy schedules reflect that the Debtor owed Defendant
$94,476.91 on the Petition Date but that the debt is unliquidated and disputed.

                               FIRST CLAIM FOR RELIEF
                        (Avoidable transfer under 11 U.S.C. § 547(b))

       12.    The Trustee incorporates by this reference the allegations contained in Paragraphs
1 through 11 above as though more fully set forth in this Claim for Relief.

       13.     The Pre-Petition Payments were “transfers” as that term is defined in Section
101(54) of the Bankruptcy Code.

       14.     The Pre-Petition Payments were made to or for the benefit of Defendant.

       15.     At the time of the Pre-Petition Payments, Defendant was a creditor of the Debtor.

       16.    The Pre-Petition Payments were made for or on account of an antecedent debt owed
by the Debtor before such transfers were made.

       17.     The Pre-Petition Payments were made while the Debtor was insolvent.

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       18.     The Pre-Petition Payments were made on or within ninety days of the Petition Date.

        19.     The Pre-Petition Payments enabled Defendant to receive more than Defendant
would receive if (a) the Debtor’s case were a case under Chapter 7 of the Bankruptcy Code; (b)
the transfers had not been made; and (c) Defendant received payment of the purported debt owed
by the Debtor to the extent provided by the provisions of the Bankruptcy Code.

        WHEREFORE, the Trustee respectfully requests that the Court enter judgment in his favor
and against Defendant as follows: (a) avoiding the Pre-Petition Payments pursuant to 11 U.S.C. §
547(b); (b) authorizing, pursuant to 11 U.S.C. § 550(a), the recovery of the avoided transfers or
the value thereof from Defendant; and (c) granting such other relief as the Court deems appropriate.

       Dated this 24th day of October, 2019.

                                      Respectfully submitted,

                                      WADSWORTH GARBER WARNER CONRARDY, P.C.

                                      /s/David J. Warner
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